B 1 (Official Form 1) (1/08)
           08-22511-rdd                  Doc 1 Filed 04/16/08 Entered 04/16/08 15:51:42                                                          Main Document
                                     United States Bankruptcy Court
                                                                Pg 1 of 16
                                                                                                                                                 Voluntary Petition
                                     Southern District of New York

 Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
   Braun, Shlome,                                                                                 Braun, Rachel,
 All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):

Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN(if              Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN(if more
more than one, state all): 7132                                                                  than one, state all):      6191

 Street Address of Debtor (No. & Street, City, and State):                                       Street Address of Joint Debtor (No. & Street, City, and State):
   65 Reagan Rd                                                                                   65 Reagan Rd
   Spring Valley, New York                                                                        Spring Valley, New York
                                                             ZIP CODE          10977                                                                          ZIP CODE           10977
 County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
   Rockland                                                                                       Rockland
 Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):

                                                             ZIP CODE                                                                                         ZIP CODE
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                              ZIP CODE
                      Type of Debtor                                           Nature of Business                              Chapter of Bankruptcy Code Under Which
                    (Form of Organization)                       (Check one box)                                                  the Petition is Filed (Check one box)
                       (Check one box.)
                                                                     Health Care Business                                 Chapter 7                        Chapter 15 Petition for
        Individual (includes Joint Debtors)                          Single Asset Real Estate as defined in 11                                             Recognition of a Foreign
                                                                                                                          Chapter 9
        See Exhibit D on page 2 of this form.                        U.S.C. § 101(51B)                                                                     Main Proceeding
        Corporation (includes LLC and LLP)                           Railroad                                            Chapter 11
                                                                                                                                                           Chapter 15 Petition for
        Partnership                                                  Stockbroker                                         Chapter 12                        Recognition of a Foreign
        Other (If debtor is not one of the above entities,           Commodity Broker                                                                      Nonmain Proceeding
                                                                     Clearing Bank                                       Chapter 13
        check this box and state type of entity below.)
        _____________________                                        Other                                                                    Nature of Debts
                                                                                                                                                (Check one box)
                                                                              Tax-Exempt Entity                          Debts are primarily consumer                  Debts are primarily
                                                                            (Check box, if applicable)                   debts, defined in 11 U.S.C.                   business debts.
                                                                                                                         § 101(8) as “incurred by an
                                                                        Debtor is a tax-exempt organization              individual primarily for a
                                                                        under Title 26 of the United States              personal, family, or house-
                                                                        Code (the Internal Revenue Code.)                hold purpose.”
                                  Filing Fee (Check one box)                                                                          Chapter 11 Debtors
                                                                                                     Check one box:
      Full Filing Fee attached
                                                                                                           Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
      Filing Fee to be paid in installments (applicable to individuals only). Must attach                  Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
      signed application for the court's consideration certifying that the debtor is                 Check if:
      unable to pay fee except in installments. Rule 1006(b) See Official Form 3A.
                                                                                                           Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                           insiders or affiliates) are less than $2,190,000.
      Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
      attach signed application for the court's consideration. See Official Form 3B.                 Check all applicable boxes
                                                                                                           A plan is being filed with this petition
                                                                                                           Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                           of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                   THIS SPACE IS FOR
                                                                                                                                                                          COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative
      expenses paid, there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 1-           50-          100-         200-        1,000-       5,001-       10,001-     25,001-        50,001-     Over
 49           99           199          999         5,000        10,000       25,000      50,000         100,000     100,000
 Estimated Assets

 $0 to   $50,001 to       $100,001 to     $500,001 to $1,000,001 $10,000,001 $50,000,001 $100,000,001                 $500,000,001     More than $1
 $50,000 $100,000         $500,000        $1          to $10     to $50      to $100     to $500                      to $1 billion    billion
                                          million     million    million     million     million
 Estimated Liabilities

 $0 to   $50,001 to       $100,001 to     $500,001 to $1,000,001 $10,000,001 $50,000,001 $100,000,001
                                                                                                                      $500,000,001     More than $1
 $50,000 $100,000         $500,000        $1          to $10     to $50      to $100     to $500
                                                                                                                      to $1 billion    billion
                                          million     million    million     million     million
B 1 (Official Form 1) (1/08)
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                                                                                                                                                  Main Document
Voluntary Petition                                                                       Pg 2Name
                                                                                              of 16
                                                                                                  of Debtor(s):
  (This page must be completed and filed in every case)
                                                                                                 Shlomo, Rachel Braun
                                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                                        Case Number:                                              Date Filed:
 Where Filed:          NONE
 Location                                                                                        Case Number:                                              Date Filed:
 Where Filed:
                            Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
 Name of Debtor:                                                                                 Case Number:                                              Date Filed:
 NONE
 District:                                                                                       Relationship:                                             Judge:


                                           Exhibit A                                                                                      Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                     (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                         whose debts are primarily consumer debts)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)              I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                 have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                                 12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                 available under each such chapter. I further certify that I have delivered to the
                                                                                                 debtor the notice required by 11 U.S.C. § 342(b).
        Exhibit A is attached and made a part of this petition.                                     X s/David Carlebach DC-7350                                4/16/2008
                                                                                                        Signature of Attorney for Debtor(s)                      Date
                                                                                                        David Carlebach                                         DC-7350
                                                                                           Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
      Yes, and Exhibit C is attached and made a part of this petition.
       No

                                                                                           Exhibit D

 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

             Exhibit D completed and signed by the debtor is attached and made a part of this petition.

 If this is a joint petition:

             Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                        Information Regarding the Debtor - Venue
                                                                                   (Check any applicable box)
                          Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                          preceding the date of this petition or for a longer part of such 180 days than in any other District.

                          There is a bankruptcy case concerning debtor's affiliate. general partner, or partnership pending in this District.


                          Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District. or
                          has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
                          this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                             Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                     (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following).



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)
                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                          filing of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
B 1 (Official Form 1) (1/08)
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                                                                                                                                               Main Document
Voluntary Petition                                                                      Pg 3Name
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                                                                                                 of Debtor(s):
  (This page must be completed and filed in every case)                                       Shlomo, Rachel Braun

                                                                                      Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                      Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this petition is true     I declare under penalty of perjury that the information provided in this petition is true
and correct.                                                                                  and correct, that I am the foreign representative of a debtor in a foreign proceeding,
[If petitioner is an individual whose debts are primarily consumer debts and has              and that I am authorized to file this petition.
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such        (Check only one box.)
chapter, and choose to proceed under chapter 7.
                                                                                                    I request relief in accordance with chapter 15 of Title 11, United States Code.
[If no attorney represents me and no bankruptcy petition preparer signs the petition] I             Certified Copies of the documents required by § 1515 of title 11 are attached.
have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                    Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
 I request relief in accordance with the chapter of title 11, United States Code, specified         Chapter of title 11 specified in the petition. A certified copy of the
 in this petition.                                                                                  order granting recognition of the foreign main proceeding is attached.

   X s/ Shlomo                                                                                X Not Applicable
       Signature of Debtor        Shlomo                                                          (Signature of Foreign Representative)

   X s/ Rachel Braun
       Signature of Joint Debtor Rachel Braun                                                     (Printed Name of Foreign Representative)

       Telephone Number (If not represented by attorney)
       4/16/2008                                                                                  Date
       Date
                                   Signature of Attorney                                                           Signature of Non-Attorney Petition Preparer
  X s/David Carlebach DC-7350                                                                 I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined
      Signature of Attorney for Debtor(s)
                                                                                              in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided the
                                                                                              debtor with a copy of this document and the notices and information required under 11
      David Carlebach Bar No. DC-7350                                                         U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or guidelines have been
      Printed Name of Attorney for Debtor(s) / Bar No.                                        promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable
                                                                                              by bankruptcy petition preparers, I have given the debtor notice of the maximum amount
      Law Offices of David Carlebach                                                          before preparing any document for filing for a debtor or accepting any fee from the debtor,
                                                                                              as required in that section. Official Form 19 is attached.
      Firm Name
      40 Exchange Place, Suite 1306 New York, New York 10005
      Address                                                                                     Not Applicable
                                                                                                  Printed Name and title, if any, of Bankruptcy Petition Preparer


      212-785-3041                                      212-785-3618
                                                                                                 Social-Security number (If the bankruptcy petition preparer is not an individual, state
      Telephone Number                                                                           the Social-Security number of the officer, principal, responsible person or partner of
      4/16/2008                                                                                  the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)

      Date
      *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a              Address
      certification that the attorney has no knowledge after an inquiry that the
      information in the schedules is incorrect.

                  Signature of Debtor (Corporation/Partnership)
                                                                                              X Not Applicable
 I declare under penalty of perjury that the information provided in this petition is true
 and correct, and that I have been authorized to file this petition on behalf of the             Date
 debtor.
                                                                                                 Signature of bankruptcy petition preparer or officer, principal, responsible person, or
                                                                                                 partner whose Social-Security number is provided above.
 The debtor requests the relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.                                                               Names and Social-Security numbers of all other individuals who prepared or assisted
                                                                                                 in preparing this document unless the bankruptcy petition preparer is not an
 X Not Applicable                                                                                individual.
     Signature of Authorized Individual                                                          If more than one person prepared this document, attach to the appropriate official form
                                                                                                 for each person.

     Printed Name of Authorized Individual                                                       A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                                 the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                                 both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Title of Authorized Individual


      Date
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                        Bank of America
                        P.O.Box 15710
                        Wilmington, DE 19886




                        Chase
                        P.O.Box 15153
                        Wilmington, DE 19886




                        Access Receivables Management
                        P.O.Box 9801
                        Townson, MD 21284




                        All State Idemnity Company
                        Credit Collection Services
                        Two wells Avenue, Dept. 9135
                        Newton, MA 02459


                        American Express
                        P.O.Box 2855
                        New York, NY 10116




                        Associated Credit Services, Inc.
                        105B South St.
                        P.O.Box 9100
                        Hopkinton, MA 01748


                        National American Credit Corp.
                        1 Allied Dr.
                        Trevose, PA 19053




                        B&S Management Corp.
                        65 Reagan Road
                        Spring Valley, NY 10977




                        Bank of America
                        P.O.Box 15710
                        Wilmington, DE 19886
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                        Bank of America
                        P.O.Box 15726
                        Wilmington, DE 19886




                        Bank of America
                        P.O.Box 15184
                        Wilmington, DE 19850




                        Bridge View Associates Corp.
                        65 Reagan Road
                        Spring Valley, NY 10977




                        Bridge View Associates Corp.
                        65 Reagan Road
                        Spring Valley, NY 10977




                        Bridge View Associates
                        65 Reagan Road
                        Spring Valley, NY 10977




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                        Spring Valley, NY 10977




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                        Spring Valley, NY 10977




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                        Spring Valley, NY 10977




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                        65 Reagan Road
                        Spring Valley, NY 10977
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                        Builders Capital LLC
                        90 Crystal Run Rd.
                        Suite 400
                        Middletown, NY 10941


                        Chase
                        P.O.Box 78035
                        Phoenix, AZ 85062




                        Chase
                        Cardmember Services
                        P.O.Box 15153
                        Wilmington, DE 19886


                        Citibusiness Card
                        P.O.Box 183065
                        Columbus, OH 43218




                        Citizens Bank
                        P.O.Box 9799
                        Providence, RI 02940




                        Country Wide
                        Cardmember Services
                        P.O.Box 15153
                        Wilmington, DE 19886


                        Credit Collection Services
                        Two wells Avenue
                        Dept. 9135
                        Newton, MA 02459


                        Discover Card
                        P.O.Box 15251
                        Wilmington, DE 19886




                        Disney Rewards
                        Cardmember Services
                        P.O.Box 15153
                        Wilmington, DE 19866
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                        Forster & Garbus
                        P.O.Box 9030
                        Farmingdale, NY 11735




                        Frederick J. Hanna & Associates PC
                        1427 Rosewell Rd.
                        Marietta, GA 30062




                        GM Card/HSBC Card Services
                        P.O.Box 37281
                        Baltimore, MD 21297




                        Hardy Credit Co.




                        HSBC Bank
                        P.O.Box 80026
                        Salines, CA 93912




                        HSBC Bank USA
                        P.O.Box 80026
                        Salinas, CA 93912




                        HSBC Bank USA
                        P.O.Box 37278
                        Baltimore, MD 21297




                        HSBC Bank USA
                        P.O.Box 80026
                        Salines, CA 93912




                        HSBC Bank USA
                        P.O.Box 80026
                        Salinas, CA 93912
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                        HSBC Mortgage Corporation(USA)
                        Suite 0241
                        Buffalo, NY 14270




                        Intergrated Portfolio
                        Management Inc.
                        P.O.Box 3352
                        Glen Ellyn, IL 60138


                        Kirschenbaum & Phillips, P.C.
                        3000 Hempstead Turnpike
                        4th Floor
                        Levitton, NY 11756


                        Law Offices of Mitchell N. Kay
                        P.O.Box 9006
                        Smithtown, NY 11787




                        LDG Financial Services, LLC
                        4553 Winters Chapel Rd.
                        Atlanta, GA 30360




                        Liberty Savings Bank
                        c/o Hardy Credit co.
                        12276 San Jose Blvd. Suite 207
                        Jacksonville, FL. 32223


                        Linton Distasio Adams P.C.
                        1720 Mineral Spring Rd.
                        P.O.Box 451
                        Reading, PA 19603


                        M.L. Zager P.C.
                        543 Broadway
                        P.O.Box 948
                        Monticello, NY 12701


                        Mezimen Corp.
                        P.O.Box 258
                        Monsey, NY 10952
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                        Nationwide Credit Inc.
                        3010 Corporate Way.
                        Miramar, FL 33025




                        NCO Financial Systems
                        507 Prudential Road
                        Horsham, PA 19044




                        Orange & Rockland Utilities
                        390 West Route 59
                        Spring Valley, NY 10977




                        Oxford Health Plans
                        c/o RMS 77 Hartland St.,         St. 401
                        East hartford, CT 06128




                        Preferred Mutual Insurance Company
                        1 Preferred Way
                        New Berlin, NY 13411




                        Samuel Freidman




                        Bank of America
                        P.O.Box 15184
                        Wilmington, DE 19850




                        The Law Offices of Jacobowitz
                        & Gubits LLP
                        158 Orange Avenue
                        P.O.Box 367
                        Walden, NY 12586
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                        Toyota Motor Credit Corporation
                        P.O.Box 5236
                        Carol Stream, IL 60197




                        Tri Valley Estates LLC




                        Ultimate Builders
                        65 Reagan Road
                        Spring Valley, NY 10977




                        Ultimate Builders Ltd.
                        65 Reagan Road
                        Spring Valley, NY 10977




                        Ultimate Builders Ltd.
                        65 Reagan Road
                        Spring Valley, NY 10977




                        Ultimate Builders Ltd.
                        65 Reagan Road
                        Spring Valley, NY 10977




                        Wachovia Bank
                        P.O.Box 96074
                        Charolette, NC 28296




                        Wachovia Bank, N.A.
                        P.O.Box 96074
                        Charolette, NC 28296




                        Wachovia Bank, N.A.
                        P.O.Box 96074
                        Charolotte, NC 28296
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                        Wachovia FIA Card Services
                        P.O.Box 15726
                        Wilmington, DE 19886




                        Wachovia Fia Card Services
                        P.O.Box 15726
                        Wilmington, DE 19886




                        Wells Fargo
                        P.O.Box 348750
                        Scarmento, CA 95834




                        Woodards Concrete
                        P.O.Box 8 Lybolt Rd.
                        Bullville, NY 10915
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                                            UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF NEW YORK


In re:   Shlomo     Rachel Braun                                                          Case No.
                                            Debtors
                                                                                          Chapter 11


                               VERIFICATION OF CREDITOR MATRIX
              The above named debtor(s), or debtor’s attorney if applicable, do hereby certify under penalty of perjury that
         the attached Master Mailing List of creditors, consisting of 8 sheet(s) is complete, correct and consistent with the
         debtor’s schedules pursuant to Local Bankruptcy Rules and I/we assume all responsibility for errors and omissions.




         Dated:    4/16/2008                                          Signed: s/ Shlomo
                                                                              Shlomo



         Dated:    4/16/2008                                         Signed: s/ Rachel Braun
                                                                             Rachel Braun




         Signed:   s/David Carlebach DC-7350
                   David Carlebach
                   Attorney for Debtor(s)
                   Bar no.:        DC-7350
                   Law Offices of David Carlebach
                   40 Exchange Place, Suite 1306
                   New York, New York 10005
                   Telephone No.:  212-785-3041
                   Fax No.:        212-785-3618
                   E-mail address: david@carlebachlaw.com
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                                                     United States Bankruptcy Court
                                                      Southern District of New York



  In re Shlomo       Rachel Braun                                                            ,   Case No.
                                                      Debtors
                                                                                                 Chapter     11


        LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS

         (1)                                           (2)                           (3)                          (4)                   (5)
 Name of creditor                     Name, telephone number and             Nature of claim                Indicate if claim    Amount of claim
 and complete                         complete mailing address,              (trade debt,                   is contingent,       [if secured also
 mailing address                      including zip code, of                 bank loan, gov-                unliquidated,        state value of
 including zip                        employee, agent, or department         ernment contract,              disputed or          security]
 code                                 of creditor familiar with              etc.)                          subject to setoff
                                      claim who may be contacted



 Liberty Savings Bank                                                        Bank Loan                     CONTINGENT                 $1,221,326.18
 c/o Hardy Credit co.
 12276 San Jose Blvd. Suite 207
 Jacksonville, FL. 32223




 Builders Capital LLC                                                        Business Loan                 CONTINGENT                    $682,350.00
 90 Crystal Run Rd.
 Suite 400
 Middletown, NY 10941




 Mezimen Corp.                                                               Personnel Loan                                              $250,000.00
 P.O.Box 258
 Monsey, NY 10952




 Citizens Bank                                                               Business Loan                 CONTINGENT                    $103,130.71
 P.O.Box 9799
 Providence, RI 02940




 HSBC Bank USA                                                               Business Loan                 CONTINGENT                    $102,561.59
 P.O.Box 80026
 Salines, CA 93912




 Chase                                                                       Bank Loan                                                    $65,241.50
 P.O.Box 15153
 Wilmington, DE 19886
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   In re Shlomo      Rachel Braun                                                               ,   Case No.
                                                         Debtors
                                                                                                    Chapter     11


        LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS

         (1)                                              (2)                           (3)                          (4)                   (5)
 Name of creditor                        Name, telephone number and             Nature of claim                Indicate if claim    Amount of claim
 and complete                            complete mailing address,              (trade debt,                   is contingent,       [if secured also
 mailing address                         including zip code, of                 bank loan, gov-                unliquidated,        state value of
 including zip                           employee, agent, or department         ernment contract,              disputed or          security]
 code                                    of creditor familiar with              etc.)                          subject to setoff
                                         claim who may be contacted



 HSBC Bank USA                                                                  Business Loan                 CONTINGENT                     $47,274.90
 P.O.Box 37278
 Baltimore, MD 21297




 American Express                                                               Credit Card                                                  $46,465.27
 P.O.Box 2855
 New York, NY 10116




 Bank of America                                                                Business Credit Card                                         $36,541.44
 P.O.Box 15710
 Wilmington, DE 19886




 American Express                                                               Business Credit Card                                         $36,161.54
 P.O.Box 2855
 New York, NY 10116




 Wachovia Bank, N.A.                                                            Business Credit Card          CONTINGENT                     $26,876.13
 P.O.Box 96074
 Charolette, NC 28296




 The Law Offices of Jacobowitz                                                  Legal Fee                                                    $23,449.04
 & Gubits LLP
 158 Orange Avenue
 P.O.Box 367
 Walden, NY 12586
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   In re Shlomo      Rachel Braun                                                               ,   Case No.
                                                         Debtors
                                                                                                    Chapter     11


        LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS

         (1)                                              (2)                           (3)                          (4)                   (5)
 Name of creditor                        Name, telephone number and             Nature of claim                Indicate if claim    Amount of claim
 and complete                            complete mailing address,              (trade debt,                   is contingent,       [if secured also
 mailing address                         including zip code, of                 bank loan, gov-                unliquidated,        state value of
 including zip                           employee, agent, or department         ernment contract,              disputed or          security]
 code                                    of creditor familiar with              etc.)                          subject to setoff
                                         claim who may be contacted



 Bank of America                                                                Credit Card                                                  $21,237.60
 P.O.Box 15726
 Wilmington, DE 19886




 GM Card/HSBC Card Services                                                     Credit Card                                                  $20,846.46
 P.O.Box 37281
 Baltimore, MD 21297




 Toyota Motor Credit Corporation                                                Finance Bus. Car                                             $18,007.18
 P.O.Box 5236
 Carol Stream, IL 60197




 Wachovia Fia Card Services                                                     Credit Card                                                  $16,297.11
 P.O.Box 15726
 Wilmington, DE 19886




 Woodards Concrete                                                              Business Loan                 CONTINGENT                     $13,717.11
 P.O.Box 8 Lybolt Rd.
 Bullville, NY 10915




 Bank of America                                                                Business Credit Card                                         $13,468.78
 P.O.Box 15184
 Wilmington, DE 19850
               08-22511-rdd            Doc 1        Filed 04/16/08           Entered 04/16/08 15:51:42                          Main Document
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   In re Shlomo      Rachel Braun                                                                    ,   Case No.
                                                           Debtors
                                                                                                         Chapter     11


        LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS

         (1)                                                (2)                              (3)                          (4)                      (5)
 Name of creditor                          Name, telephone number and                Nature of claim                Indicate if claim        Amount of claim
 and complete                              complete mailing address,                 (trade debt,                   is contingent,           [if secured also
 mailing address                           including zip code, of                    bank loan, gov-                unliquidated,            state value of
 including zip                             employee, agent, or department            ernment contract,              disputed or              security]
 code                                      of creditor familiar with                 etc.)                          subject to setoff
                                           claim who may be contacted



 Disney Rewards                                                                      Credit Card                                                      $12,853.34
 Cardmember Services
 P.O.Box 15153
 Wilmington, DE 19866




      Penalty for making a false statement or concealing property. Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C §§ 152 and 3571.
